                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                         )
                                                  )
                     Plaintiff,                   )
                                                  )
v.                                                )      No. 11-CR-00159-CVE
                                                  )
CLINT WESLEY MENZO LAWRENCE,                      )
                                                  )
                     Defendant.                   )

                         GOVERNMENT'S MOTION FOR
                           ONE LEVEL REDUCTION
                     FOR ACCEPTANCE OF RESPONSIBILITY

       The United States of America, through Joel-lyn A. McCormick, Assistant United

States Attorney, hereby moves that the defendant's total offense level be decreased by one

additional level for early acceptance of responsibility under United States Sentencing

Guidelines § 3E1.1(b). In support of its motion, the Government states that the defendant

has assisted authorities in the investigation and prosecution of his own misconduct by timely

notifying authorities of his intention to enter a plea of guilty, thereby permitting the

Government to avoid preparing for trial and permitting the Government and the Court to

allocate their resources efficiently. Accordingly, the Government would ask the Court to

decrease defendant's offense level by one additional level, as provided for in United States

Sentencing Guideline § 3E1.1(b).
                                          Respectfully submitted,

                                          THOMAS SCOTT WOODWARD
                                          UNITED STATES ATTORNEY



                                          /s/ Joel-lyn A. McCormick
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                             CERTIFICATE OF SERVICE

       I hereby certify that on the 21st day of June, 2012, I electronically transmitted the
foregoing document to the Clerk of Court using the ECF System for filing and transmittal of
a Notice of Electronic Filing to the following ECF registrant:

       Walter Dewey Haskins, III
       ECF@ahn-law.com

                                          /s/ Joel-lyn A. McCormick
                                          Assistant United States Attorney




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